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    UNITED STATES DISTRICT COURT
    DISTRICT OF NEW HAMPSHIRE
    -------------------------------- x

                                                            MDL Docket No . 02-1335-B
    IN RE TYCO INTERNATIONAL, LTD.
    SECURITIES LITIGATION
                                                            This document relates to: Overby v. Tvco Intl .,
                                                            Ltd. (ERISA actions), No . 02-CV-1357-B .




                                          NOTICE OF APPEARANCE

            PLEASE TAKE NOTICE that Patricia T. Northrop of the law firm of Richards Kibbe &

    Orbe LLP hereby appears in this action as counsel for ERISA Defendant Patricia P rue, and

    requests that all papers in this action be se rved upon, and all communication directed to, the

    undersigned at the add re ss provided below .

    Dated: New York, New York
           October IL 2006
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    UNITED STATES DISTRICT COURT
    DISTRICT OF NEW HAMPSHIRE
    -------------------------------- x

                                                             MDL Docket No . 02-1335-B
    IN RE TYCO INTERNATIONAL, LTD .
    SECURITIES LITIGATION
                                                             This document relates to: Overbv v .
                                                             Tyco Intl.. Ltd . (ERISA actions), No .
                                                             02-CV-1357-B .


                                        CERTIFICATE OF SERVICE

            I, Christina Kuhn, ce rtify that on October 31 , 2006, I served the foregoing Notice of
    Appearance ofPatricia T. Northrop upon the parties identified on the attached service list by
    having true and correct copies enclosed in an envelope with postage thereon fully prepaid and
    deposited in a United States postal receptacle .

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                                                            Christina Kuh n




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